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June 7, 2024

VIA CM/ECF ONLY
Hon. Jose R. Almonte, U.S.M.J.
Martin Luther King Building &
      U.S. Courthouse
Court Room PO 9
50 Walnut Street
Newark, NJ 07101

       Re:      Lorenzo v. Borough of Palisades Park, et al.
                Civil Action No. 23-21849 (CCC-JRA)

Dear Judge Almonte:

This Firm represents Defendants Stephanie S. Jang and Jae Park in the above-referenced
matter. We are in receipt of a motion for extension of time to file a responsive pleading
filed by Defendants Borough of Palisades Park, Chong Paul Kim, and Suk Min
(collectively, the “Borough Defendants”). In addition, we are in receipt of a letter from
plaintiff’s counsel seeking to consolidate this matter with another case, Ashley v. Borough
of Palisades Park, et al., Civil Action No. 22-6285 (CCC-JRA), and then putting together
a single briefing schedule to deal with any motions.

We write to join in the Borough Defendants’ application for an extension of time. While
we take no position on whether the Ashley matter should be consolidated with this one
(we don’t represent anyone in that matter as of now), if this Court believes consolidation
is appropriate, we do believe a single briefing schedule would be advisable.

If Your Honor has any questions or concerns, please contact me. Thank you.

Respectfully submitted,

/s/Roshan D. Shah

ROSHAN D. SHAH, ESQ.
For the Firm


c: All Counsel of Record




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